  AO 247(02/08) Order Regarding Motion for Sentence Reduction


                                       UNITED STATES DISTRICT COURT
                                                                   for the

                                                     Eastern District of North Carolina

                    United States of America
                               v.
                                                                         Case No:     7:08-CR-54-l BO
                       Bennie Lee Campbell
                                                                         USMNo:       51180-056
Date of Previous Judgment:             November 13, 2008
(Use Date or Last Amended Judgment If Applicable)                        Defendant's Attorney   Pro-Se
                                                                                                -    -------------

                   Order Regarding Motion for Sentence Reduction Pursuant to ] 8 U.S.c. § 3582(c)(2)

          Upon motion of the          defendant              under 18 U.S.c. § 3582(c)(2) for a reduction in the term
of imprisonment imposed based on a guideline sentencing range that has subsequently been lowered and made retroactive
by the United States Sentencing Commission pursuant to 28 U.S.c. § 994(u), and the court having considered such
Illotion,

IT IS ORDERED that the motion is:

         IX] DENIED.            D GRANTED              and the defendant's previously imposed sentence of imprisonment (as reflected

                                in the last judgment issued) of                months is reduced to      months.
If the amount of time the defendant has already served exceeds this sentence, the sentence is reduced to a "Time Served"
sentence, subject to an additional period of up to ten (10) days for administrative purposes of releasing the defendant.

I. COURT DETERMINAnON OF GUIDELINE RANGE (Prior to Any Departures)

Previous Offense Level:                                                   Amended Offense Level:

Criminal History Category:                                               Criminal History Category:

 Previous Guideline Range:                      to              months    Amended Guideline Range:                 to        months
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II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE

o The reduced sentence is within the amended guideline range.
D The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time of
    sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the amended
    guideline range.


o Other (explain) :




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III. ADDITIONAL COMMENTS

 Upon review of this case, it has been determined that the defendant was sentenced under the provisions of the retroactive
 crack cocaine amendment. At that time, the court fully considered the applicability of the amendment to the defendant's
 case and where the court found the defendant eligible and a reduction appropriate, the retroactive provision was applied.
 Therefore, no further consideration is warranted.




Except as provided above. all provisions of the judgment dated                            shall remain in effect.
IT IS SO ORDERED.

Order Date:   ~- ~ 7 • I tJ

Effective Date:                                                Terrence W. Boyle, U.S. District Judge
                  (if different from order date)                                  Printed name and title




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